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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ALABAMA
                                       SOUTHERN DIVISION

      BOKF, N.A., as indenture trustee,

                        Plaintiff,

               v.                                                  Case No. 21-00028-KD-B

      BAMA OAKS RETIREMENT, LLC;
      SAINT SIMONS HEALTH CARE, LLC;
      and THE MEDICAL CLINIC BOARD OF
      THE CITY OF MOBILE (SECOND),

                        Defendants.


       WALLER LANSDEN DORTCH & DAVIS, LLP’S MOTION TO APPROVE
     COMPENSATION FOR SERVICES RENDERED AND EXPENSES INCURRED AS
          COUNSEL TO RECEIVER MAY 1, 2022 THROUGH MAY 31, 2022
                      (ASSISTED LIVING FACILITY)

          Waller Lansden Dortch & Davis, LLP (“Waller”), counsel to the court-appointed receiver

 (the “Receiver”) in the above-captioned civil action, submits this motion to approve

 compensation for services rendered and reimbursement of costs and expenses incurred (the “Fee

 Application”) May 1, 2022 through May 31, 2022 (the “Application Period”) as counsel to the

 Receiver and, in support of the Fee Application, Waller respectfully states as follows:

                                                 BACKGROUND

          1.        On April 13, 2021 (the “Appointment Date”), this Court entered the Order

 Appointing Receiver (Dkt. No. 42) (the “Receiver Order”), 1 appointing the Receiver to

 administer and control the Facility.

          2.        Since accepting the appointment pursuant to the Receiver Order, the Receiver has

 exercised his full power and authority to control, manage, administer, operate, and protect the

 1
   Capitalized terms used in this Application and not otherwise defined shall have the meanings ascribed to them in
 the Receiver Order.


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 Receivership Estate, as laid out in the Receiver Order. The Receiver has operated and

 administered the Receivership Estate in an economical and efficient manner in compliance with

 the terms and conditions of the Bond Documents and applicable law and in the best interest of

 the Receivership Estate’s creditors.

          3.        Paragraph (8), subsection (xxiv) of the Receiver Order allows HMP to employ

 counsel to assist it in its role as Receiver. This Court approved the Receiver’s retention of Waller

 to represent it as its general counsel in this matter. (Receiver Order ¶ 19.)

          4.        Paragraph (36) of the Receiver Order provides that the Receiver shall file

 applications for payment of the Receiver’s and Receiver Affiliates fees and expenses on the

 twentieth (20) of each calendar month. Additionally, paragraph (36) of the Receiver Order

 further provides that unless a party files a written objection to the application for payment within

 thirty (30) calendar days of the filing of application for payment, the application shall be deemed

 approved and the Receiver is authorized to pay the fees and expenses of the Receiver and

 Receiver Affiliates as necessary expenses of operation of the Facility without further order of the

 Court.

          5.        Pursuant to the Receiver Order, fees and expenses payable to Receiver Affiliates

 shall be treated as priority administrative claims against the Receivership Estate, and payment of

 such amounts in accordance with the Receiver Order take priority over payment of any claims

 arising prior to the date on which the Receiver is appointed (including, but not limited to, claims

 of the Trustee with respect to the Bonds).

          6.        The professional services provided by Waller are necessary to enable the Receiver

 to perform and exercise faithfully and confidently the Receiver’s powers, duties, and

 responsibilities under the Receiver Order.


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          7.        Waller charges the Receiver for its legal services at the hourly rates in effect as of

 January 1, 2022, for matters of this type, and for reimbursement of all reasonable costs and

 expenses incurred in connection with its representation of the Receiver in all matters concerning

 the above-captioned proceedings.

          8.        Waller maintains computerized time records of the time spent by all Waller

 professionals and paraprofessionals in connection with its representation of the Receiver.

          9.        Waller’s computerized time records reflect the category of the services provided,

 the date services were performed, the name of the professionals and paraprofessionals who

 rendered the services, a description of the services provided, the amount of time expended, and

 the cost of such services.

          10.       As set forth in greater detail below, Waller’s activities on behalf of the Receiver

 in relation to the above-captioned proceedings were substantial, beneficial, and necessary for the

 fulfillment of the Receiver’s duties and obligations pursuant to the Receiver Order.

          11.       Attached as Exhibit A to this application are computerized time records reflecting

 the services provided by Waller during the Application Period.

          12.       The services set forth in Exhibit A represent services provided by Waller to the

 Receiver in connection with this receivership and the concurrently pending, related receivership

 of Bama Oaks Retirement, LLC’s independent living facility in case number 21-00029-KD-B

 pending in this Court (the “Independent Living Facility Receivership”).

               DESCRIPTION OF SERVICES AND EXPENSES FOR THE APPLICATION PERIOD

          13.       During the Application Period, Waller spent 75.9 hours providing services to the

 Receiver to assist the Receiver in fulfilling his duties and obligation under the Receiver Order,

 resulting in $33,856.00 in fees and $2,832.02 in expenses.


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          14.       The services rendered by Waller during the Application Period were performed

 by Waller professionals as follows:

                Professional                  Hourly Rate          Hours               Fees

 Jon P. Gaston                                   $540               0.2               $108.00

 Ryan K. Cochran                                 $575               21.3            $10,867.50

 Brian J. Malcom                                 $490               27.7            $12,397.00

 John J. Park                                    $520               2.1              $1,092.00

 Blake D. Roth                                   $520               10.1             $5,252.00

 Kendria S. Lewis                                $345               13.4             $3,795.00

 Jeanette L. Ramer                               $315               0.7               $220.50

 Chris T. Cronk                                  $310               0.4               $124.00

 TOTAL                                                              75.9            $33,856.00

          15.       In addition, during the Application Period, Waller incurred expenses in the

 amount of $2,832.02, in connection with travel expenses and postage expenses.

                               TERMS AND CONDITIONS OF COMPENSATION

          16.       Subject to this Court’s approval, Waller seeks payment on an hourly basis, plus

 reimbursement of actual, necessary expenses incurred by Waller during the Application Period.

          17.       The rates charged by Waller in this case are the same rates charged by Waller

 with regard to other matters of this type.

          18.       The Receiver has determined that a reasonable allocation of administrative

 expenses between the Facility and the facility in the Independent Living Facility Receivership is

 Seventy Percent (70%) to the Facility and Thirty Percent (30%) to the facility in the Independent

 Living Facility Receivership, based upon a percentage of revenue for each. Accordingly, because
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 of the concurrent representation of the Receiver in this receivership and the Independent Living

 Facility Receivership, Waller is seeking compensation of only Seventy Percent (70%) of the fees

 and expenses from this Receivership Estate, while seeking compensation of the remaining Thirty

 Percent (30%) of the fees and expenses from the Independent Living Facility Receivership’s

 estate.

           19.      Accordingly, by this Fee Application, Waller seeks entry of an order granting

 approval, and directing payment, without further order of this Court, at such times as the

 Receiver determines in his absolute discretion that the funds are available, of (a) compensation in

 the amount of $23,699.2 for professional services rendered in aid of the Receiver during the

 Application Period as counsel to the Receiver and (b) reimbursement of actual and necessary out

 of pocket disbursements and charges in the amount of $1,982.41 incurred in the rendering of

 such professional services on behalf of the Receiver during the Application Period.

           20.      Other than Waller’s partnership agreement, there are no agreements or

 understandings between Waller and any other person for the sharing of compensation to be

 received for services rendered as counsel to the Receiver during the above-captioned

 proceedings.

           21.      All services for which compensation is requested and expenses for which

 reimbursement is requested are reasonable, necessary, and were performed for and on behalf of

 the Receiver during the Application Period.

           22.      The fees and expenses incurred during the Application Period were incurred in the

 best interests of all parties to the above-captioned proceedings.




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           23.      Waller has no interests adverse to the Receiver that would inhibit Waller from

 acting as counsel to the Receiver or performing any legal services for the Receiver as necessary

 for the performance of its duties under the Receiver Order.

           WHEREFORE, the Waller respectfully requests that this Court enter an order approving

 this Fee Application and granting such other and further relief as this Court deems just and

 proper.

 Dated: June 21, 2022                                  Respectfully submitted,

                                                         /s/ Brian J. Malcom
                                                       Brian J. Malcom
                                                       WALLER LANSDEN
                                                       DORTCH & DAVIS, LLP
                                                       1901 Sixth Ave. North, Suite 1400
                                                       Birmingham, AL 35203
                                                       Tel: (205) 226-5706
                                                       Fax: (205) 214-7342
                                                       Brian.Malcom@wallerlaw.com

                                                       - and -

                                                       Ryan K. Cochran
                                                       Alabama Bar No. 1748N70C
                                                       WALLER LANSDEN
                                                       DORTCH & DAVIS, LLP
                                                       511 Union Street, Suite 2700
                                                       Nashville, Tennessee 37219
                                                       Tel: (615) 850-8778
                                                       Fax: (615) 244-6304
                                                       ryan.cochran@wallerlaw.com

                                                       Attorneys for the Receiver, Derek Pierce of
                                                       Healthcare Management Partners, LLC




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                                CERTIFICATE OF SERVICE

 I, the undersigned, declare that a true and correct copy of the foregoing was served via the
 Court’s CM/ECF electronic noticing system on the date set forth below on the following:

 W. Joseph McCorkle , Jr.                     Frederic Dorwart
 Balch & Bingham                              Frederic Dorwart Lawyers
 P. O. Box 78                                 Suite 100
 Montgomery, AL 36101                         124 E. Fourth Street
                                              Tulsa, OK 74103

 James A. Higgins                             Nora R. O'Neill
 Frederic Dorwart, Lawyers PLLC               Frederic Dorwart, Lawyers PLLC
 124 E. 4th Street                            124 East Fourth Street
 Tulsa, OK 74103                              Tulsa, OK 74103

 Patrick Nicholas Silloway                    Walter Jones
 Balch & Bingham                              Balch & Bingham
 30 Ivan Allen Jr. Blvd., NW                  30 Ivan Allen Jr. Blvd NW Suite 700
 Suite 700                                    Atlanta, GA 30308
 Atlanta, GA 30308

 Mary Allie Elizabeth Boller                  Thomas R. Boller
 Thomas R. Boller, PC                         150 Government St., Ste. 1001
 150 Government Street                        Mobile, AL 36602
 Suite 1001
 Mobile, AL 36602

 Michael Mark Linder , Jr.
 The Atchison Firm
 3030 Knollwood Drive
 Mobile, AL 36693

 This 21st day of June, 2022.                      /s/ Brian J. Malcom
                                                  OF COUNSEL




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                                   Exhibit A

                                 Waller Invoices




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                              W A L L E R L A N S D E N D O RT C H & D A V I S , LLP
                                           NASHVILLE CITY CENTER
                                        511 UNION STREET, SUITE 2700
                                          POST OFFICE BOX 198966
                                      NASHVILLE, TENNESSEE 37219-8966
                                               615-244-6380
                                             FEDERAL ID NO. XX-XXXXXXX




 Healthcare Management Partners                                                        June 9, 2022
 Derek Pierce                                                                          Invoice 10857634
 Via Email:                                                                            Page 1
 dpierce@HCMPLLC.com                                                                   Bill Through 05/31/22
                                                                                       Billing Atty: R. Cochran




 Our Matter #    021401.07202

                 Bama Oaks Receivership



 05/05/22       Review of CM/ECF notices and calendar upcoming hearings and
                deadlines related to the sale of the facililties
                B110                                    Cronk, Chris T.     0.20 hrs.                      $ 62.00

 05/06/22       Prepare declaration in support of sale
                B110                                 Lewis, Kendria S              0.70 hrs.              $ 241.50

 05/10/22       Review of CM/ECF notices and update calendar re: change in hearing to
                confirm sale
                B110                              Cronk, Chris T.            0.20 hrs.                     $ 62.00

 05/16/22       Update fee chart in preparation for final sale
                B110                                  Lewis, Kendria S             0.20 hrs.               $ 69.00

 05/16/22       Prepare closing deliverables in preparation for closing
                B110                                Lewis, Kendria S               0.20 hrs.               $ 69.00

 05/17/22       Prepare and revise recordable documents in preparation for closing.
                B110                              Lewis, Kendria S              0.90 hrs.                 $ 310.50

 05/23/22       Revise recordable documents in preparation for closing
                B110                              Lewis, Kendria S                 1.00 hrs.              $ 345.00

 05/23/22       Revise compensation chart
                B110                                 Lewis, Kendria S              0.20 hrs.               $ 69.00

 05/23/22       Correspondence with real estate team re:
                B110                               Lewis, Kendria S                0.10 hrs.               $ 34.50
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  05/24/22   Correspondence with L. Douglas re:

             B110                                 Lewis, Kendria S             0.10 hrs.           $ 34.50

  05/24/22   Prepare closing deliverables in preparation for closing
             B110                                Lewis, Kendria S              0.70 hrs.          $ 241.50

  05/25/22   Revise recordable documents in preparation for closing
             B110                              Lewis, Kendria S                0.60 hrs.          $ 207.00

                                   Code Total:                                5.10 hrs.          $1,745.50

  05/09/22   Call with W. Jones re: sales process and hearing
             B130                                Cochran, Ryan K               0.20 hrs.          $ 115.00

  05/12/22   Conduct Auction
             B130                                 Cochran, Ryan K              0.40 hrs.          $ 230.00

  05/12/22   Prepare excel chart in support of order approving sale hearing to follow
             auction
             B130                                 Lewis, Kendria S             0.10 hrs.           $ 34.50

  05/12/22   Attend auction
             B130                                 Lewis, Kendria S             1.10 hrs.          $ 379.50

  05/16/22   Work on closing checklist and documents
             B130                              Cochran, Ryan K                 0.20 hrs.          $ 115.00

  05/18/22   Work on closing documents and closing checklist
             B130                             Cochran, Ryan K                  0.20 hrs.          $ 115.00

  05/20/22   Work on closing documents
             B130                                 Cochran, Ryan K              0.60 hrs.          $ 345.00

  05/23/22   Work on closing documents
             B130                                 Cochran, Ryan K              0.20 hrs.          $ 115.00

                                   Code Total:                                3.00 hrs.          $1,449.00

  05/04/22   Work on funding request
             B210                                 Cochran, Ryan K              0.10 hrs.           $ 57.50

  05/06/22   Revise response to EEOC claim re: Franklin
             B210                              Cochran, Ryan K                 0.20 hrs.          $ 115.00

  05/12/22   Work on funding request
             B210                                 Cochran, Ryan K              0.30 hrs.          $ 172.50

                                   Code Total:                                0.60 hrs.            $345.00

  05/03/22   Call with D. Pierce re:
             C300                                 Cochran, Ryan K              0.10 hrs.           $ 57.50

  05/03/22   Discuss                      with J. Gaston
             C300                                 Cochran, Ryan K              0.10 hrs.           $ 57.50
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  05/03/22   Work on formula to allocate proceeds of sale between bond issuances
             C300                               Cochran, Ryan K             0.50 hrs.             $ 287.50

  05/03/22   Assess and advise re: receiver's federal income tax return filing
             obligations
             C300                                   Gaston, Jon P              0.20 hrs.          $ 108.00

  05/03/22   Prepare litigation hold memo for Ashanti Franklin charge
             C300                                     Park, John J             0.50 hrs.          $ 260.00

  05/05/22   Draft and revise Ashanti Franklin position statement
             C300                                      Park, John J            0.50 hrs.          $ 260.00

  05/06/22   Finalize position statement and circulate for approval
             C300                                      Park, John J            0.20 hrs.          $ 104.00

  05/10/22   Follow up to finalize charge response for Ashanti Franklin
             C300                                     Park, John J             0.10 hrs.           $ 52.00

  05/11/22   Finalize position statement for Ashanti Franklin and submit to EEOC
             C300                                      Park, John J           0.80 hrs.           $ 416.00

                                    Code Total:                               3.00 hrs.          $1,602.50

  05/09/22   Call with bondholder
             C400                                 Cochran, Ryan K              0.10 hrs.           $ 57.50

                                    Code Total:                               0.10 hrs.             $57.50

  05/02/22   Plan and prepare for sale hearing and auction
             L190                                Malcom, Brian J.              1.80 hrs.          $ 882.00

  05/04/22   Plan and prepare for sale, sale hearing, and auction
             L190                                 Malcom, Brian J.             2.30 hrs.         $ 1,127.00

  05/06/22   Plan and prepare for sale hearing, and auction
             L190                                Malcom, Brian J.              0.40 hrs.          $ 196.00

  05/12/22   Prepare for public auction
             L190                                 Malcom, Brian J.             0.80 hrs.          $ 392.00

  05/16/22   Plan and prepare for hearing on motion for preliminary injunction in
             Burgett action
             L190                                Malcom, Brian J.              1.70 hrs.          $ 833.00

  05/17/22   Plan and prepare for hearing on motion for injunction in Burgett
             proceeding
             L190                                Malcom, Brian J.             1.30 hrs.           $ 637.00

  05/18/22   Plan and prepare for hearing on injunction in Burgett
             L190                                Malcom, Brian J.              1.80 hrs.          $ 882.00

                                    Code Total:                              10.10 hrs.          $4,949.00

  05/09/22   Prepare declaration in support of auction
             L210                                Lewis, Kendria S              0.30 hrs.          $ 103.50
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  05/09/22   Prepare documentation re: receivership fees in support of proposed sale
             order
             L210                               Lewis, Kendria S             0.20 hrs.              $ 69.00

                                  Code Total:                                  0.50 hrs.            $172.50

  05/02/22   Work on motion to approve final accounting and discharge
             L250                                  Roth, Blake D               0.30 hrs.           $ 156.00

  05/04/22   Prepare for sale hearing and auction
             L250                                Cochran, Ryan K               1.90 hrs.          $ 1,092.50

  05/05/22   Work on declaration and proffer in support of sale hearing
             L250                                Cochran, Ryan K               1.00 hrs.           $ 575.00

  05/05/22   Research
             L250                                    Roth, Blake D             0.40 hrs.           $ 208.00

  05/06/22   Prepare declaration in support of sale motion and proffer of D. Prince
             L250                                 Cochran, Ryan K               0.30 hrs.          $ 172.50

  05/06/22   Draft and revise motion for preliminary injunction on Burgett matter to
             enforce Receiver's injunctions against 3rd parties
             L250                                 Malcom, Brian J.              1.60 hrs.          $ 784.00

  05/08/22   Work on proposed sale order, declaration in support of sale and prepare
             for sale hearing
             L250                               Cochran, Ryan K               0.80 hrs.            $ 460.00

  05/09/22   Work on notice of successful bidder, declaration in support of sale, and
             proposed sale order
             L250                                Cochran, Ryan K                1.00 hrs.          $ 575.00

  05/09/22   Work on monthly operating report and fee applications
             L250                               Cochran, Ryan K                0.10 hrs.            $ 57.50

  05/09/22   Review and analyze pleadings and prepare for sale hearing and auction
             L250                              Malcom, Brian J.             0.80 hrs.              $ 392.00

  05/10/22   Prepare for hearing on sale motion including work on declaration in
             support, testimony outline, and supporting case law
             L250                                Cochran, Ryan K              1.10 hrs.            $ 632.50

  05/10/22   Update fee chart in preparation for sale hearing
             L250                                 Lewis, Kendria S             0.30 hrs.           $ 103.50

  05/10/22   Prepare notice of filing of proposed order
             L250                                  Lewis, Kendria S            0.30 hrs.           $ 103.50

  05/10/22   Retrieve ucc searches in support of order to approve sale hearing
             L250                                Lewis, Kendria S             0.60 hrs.            $ 207.00

  05/10/22   Prepare notice of service re: time change of sale hearing
             L250                                 Lewis, Kendria S             0.30 hrs.           $ 103.50

  05/10/22   Prepare for sale hearing and auction
             L250                                 Malcom, Brian J.             1.00 hrs.           $ 490.00

  05/10/22   Work on motion to approve final accounting and discharge receiver
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             L250                                     Roth, Blake D              0.30 hrs.           $ 156.00

  05/11/22   Travel to Auction
             L250                                  Cochran, Ryan K               2.50 hrs.           $ 718.75

  05/11/22   Prepare for sale hearing re: proffer, declaration in support of sale, and
             research on free and clear sales
             L250                                  Cochran, Ryan K                1.10 hrs.          $ 632.50

  05/11/22   Travel to Auction
             L250                                  Lewis, Kendria S              2.50 hrs.           $ 431.25

  05/11/22   Prepare for sale hearing and auction
             L250                                 Malcom, Brian J.               1.00 hrs.           $ 490.00

  05/11/22   Travel to sale hearing and auction
             L250                                  Malcom, Brian J.              2.50 hrs.           $ 612.50

  05/12/22   Work on allocation of sale proceeds motion
             L250                                Cochran, Ryan K                 0.50 hrs.           $ 287.50

  05/12/22   Finalize proposed sale order, declaration in support and notice of
             successful bidder
             L250                                Cochran, Ryan K                1.50 hrs.            $ 862.50

  05/12/22   Prepare proffer and direct examination in support of sale
             L250                                Cochran, Ryan K                 0.50 hrs.           $ 287.50

  05/12/22   Prepare exhibits for sale hearing
             L250                                  Malcom, Brian J.              0.60 hrs.           $ 294.00

  05/12/22   Correspondence with Burgett counsel re: agreed order and injunction
             against collection
             L250                              Malcom, Brian J.             0.30 hrs.                $ 147.00

  05/12/22   Prepare for sale hearing
             L250                                  Malcom, Brian J.              1.00 hrs.           $ 490.00

  05/12/22   Attend and host public auction for sale of facility
             L250                                 Malcom, Brian J.               0.40 hrs.           $ 196.00

  05/13/22   Participate in sale hearing
             L250                                  Cochran, Ryan K               0.70 hrs.           $ 402.50

  05/13/22   Prepare for sale hearing
             L250                                  Cochran, Ryan K               1.00 hrs.           $ 575.00

  05/13/22   Travel related to sale hearing
             L250                                  Cochran, Ryan K               2.30 hrs.           $ 661.25

  05/13/22   Attend sale hearing
             L250                                  Lewis, Kendria S              0.70 hrs.           $ 241.50

  05/13/22   Travel related to sale hearing
             L250                                  Lewis, Kendria S              2.30 hrs.           $ 396.75

  05/13/22   Return travel from sale hearing and auction
             L250                                Malcom, Brian J.                2.30 hrs.           $ 563.50

  05/13/22   Prepare for sale hearing and prepare exhibits to hearing
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             L250                                   Malcom, Brian J.              3.30 hrs.          $ 1,617.00

  05/13/22   Attend sale hearing
             L250                                   Malcom, Brian J.              0.70 hrs.           $ 343.00

  05/13/22   Attention to monthly operating report and fee applications
             L250                                    Roth, Blake D                0.10 hrs.            $ 52.00

  05/16/22   Research related to proposed order provisions providing for good faith
             purchaser and affect of appeal
             L250                               Cochran, Ryan K              0.80 hrs.                $ 460.00

  05/17/22   Analysis of entered sale order and email to parties re: sale order
             L250                                Cochran, Ryan K                0.40 hrs.             $ 230.00

  05/17/22   Review and analyze sale order entered by court and compare against
             draft provided to court in proposed order
             L250                                 Malcom, Brian J.        0.30 hrs.                   $ 147.00

  05/17/22   Draft fee applications and monthly operating reports for assisted living
             facility and independent living facility
             L250                                     Roth, Blake D             1.00 hrs.             $ 520.00

  05/18/22   Call with Buyer counsel and trustee counsel re: Sale Order
             L250                                Cochran, Ryan K                  0.10 hrs.            $ 57.50

  05/18/22   Work on monthly operating report and fee applications
             L250                               Cochran, Ryan K                   0.10 hrs.            $ 57.50

  05/18/22   Research re:
             L250                                  Cochran, Ryan K                0.30 hrs.           $ 172.50

  05/18/22   Review and revise monthly operating reports
             L250                                  Roth, Blake D                  0.20 hrs.           $ 104.00

  05/18/22   Draft motion to approve final accounting and discharge receiver
             L250                                    Roth, Blake D           0.70 hrs.                $ 364.00

  05/19/22   Draft motion to discharge receiver and approve final distribution and
             research re: same
             L250                                   Roth, Blake D               0.90 hrs.             $ 468.00

  05/20/22   Work on notice of service of sale order
             L250                                 Cochran, Ryan K                 0.10 hrs.            $ 57.50

  05/20/22   Draft, revise, and finalize monthly operating report for facility and fee
             applications for submission to the court and file the same
             L250                                  Malcom, Brian J.                1.80 hrs.          $ 882.00

  05/20/22   Draft motion to discharge receiver and approve final accounting and
             research re: same
             L250                                   Roth, Blake D             1.20 hrs.               $ 624.00

  05/20/22   Review and revise monthly operating report
             L250                                  Roth, Blake D                  0.40 hrs.           $ 208.00

  05/24/22   Work on motion to discharge receiver and approve final accounting
             L250                                  Roth, Blake D             1.10 hrs.                $ 572.00

  05/25/22   Draft motion to approve final accounting and research re: same
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             L250                                               Roth, Blake D                     1.40 hrs.               $ 728.00

  05/26/22   Work on motion to discharge receiver and approve final accounting
             L250                                  Roth, Blake D             1.30 hrs.                                    $ 676.00

  05/27/22   Work on motion to approve final discharge
             L250                                   Roth, Blake D                                 0.80 hrs.               $ 416.00

                                        Code Total:                                             52.80 hrs.              $23,314.50

  05/24/22   Review affidavit and deed matters for document preparation
             P400                             Ramer, Jeanette L.                                  0.70 hrs.               $ 220.50

                                        Code Total:                                              0.70 hrs.                 $220.50

             Total Fees for Professional Services ..............................................................        $ 33,856.00



                                                     Summary of Fees

              Timekeeper                                      Rate / Hr                Hours              Amount

              Gaston, Jon P                               540.00                         0.20           $ 108.00
              Cochran, Ryan K                             575.00                        21.30        $ 10,867.50
              Malcom, Brian J.                            490.00                        27.70        $ 12,397.00
              Park, John J                                520.00                         2.10         $ 1,092.00
              Roth, Blake D                               520.00                        10.10         $ 5,252.00
              Lewis, Kendria S                            345.00                        13.40         $ 3,795.00
              Ramer, Jeanette L.                          315.00                         0.70           $ 220.50
              Cronk, Chris T.                             310.00                         0.40           $ 124.00

              TOTAL                                                                     75.90        $ 33,856.00


                                                      Disbursements

  05/11/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                    $ 32.37
             R. Cochran, B. Malcom, and K. Lewis lunch while in Mobile, AL for Sale
             Hearing

  05/11/22   VENDOR: Ryan Cochran INVOICE#: 010051673215 DATE: 5/24/2022                                                    $ 30.33
             Car service to airport re: Sale hearing in Mobile, AL

  05/11/22   VENDOR: Ryan Cochran INVOICE#: 010051673215 DATE: 5/24/2022                                                    $ 15.16
             Car service to airport re: Sale hearing in Mobile, AL

  05/12/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                     $ 3.27
             R. Cochran internet while in Mobile, AL for Sale Hearing (1 day)

  05/12/22   VENDOR: Brian Malcom INVOICE#: 010051690413 DATE: 5/24/2022                                                 $ 1,053.02
             Two conference rooms, wifi connections for two days and lunch at the
             Battle House Hotel for Court Auction and sale hearing

  05/13/22   VENDOR: Brian Malcom INVOICE#: 010051624996 DATE: 5/17/2022                                                    $ 24.94
             Valet parking for hotel stay

  05/13/22   VENDOR: Brian Malcom INVOICE#: 010051624996 DATE: 5/17/2022                                                  $ 443.46
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             Hotel stay for Court Auction

  05/13/22   VENDOR: Brian Malcom INVOICE#: 010051624996 DATE: 5/17/2022                                                 $ 13.10
             Internet for hotel stay for Court Auction

  05/13/22   VENDOR: Kendria S. Lewis INVOICE#: 010051651409 DATE:                                                     $ 444.46
             5/17/2022 hearing in Alabama

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                               $ 211.74
             R. Cochran rental vehicle for Sale Hearing in Mobile AL

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                 $ 12.38
             R. Cochran and K. Lewis dinner at airport while returning home from
             Mobile, AL for Sale Hearing

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                 $ 18.00
             R. Cochran parking while in Mobile, AL for Sale Hearing (1 day)

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                                 $ 24.94
             R. Cochran parking while in Mobile, AL for Sale Hearing (1 day)

  05/13/22   VENDOR: Ryan Cochran INVOICE#: 010051627002 DATE: 5/17/2022                                               $ 443.46
             R. Cochran hotel stay while in Mobile, AL for Sale Hearing (1 day)

  05/13/22   VENDOR: Brian Malcom INVOICE#: 010051618019 DATE: 5/17/2022                                                 $ 51.31
             Lunch with Derek Pierce, Ryan Cochran & Kendria Lewis for Sale
             Hearing

             Postage - 3 @ 3.36                                                                                          $ 10.08

             Total Disbursements ................................................................ ...........         $ 2,832.02

             Total Fees and Disbursements on This Invoice                                                           $ 36,688.02

             PLEASE REMIT TOTAL AMOUNT DUE                                                                           $ 36,688.02
